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 8                                   UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                        No. 1:15cr286 DAD-BAM
12                      Plaintiff,
13           v.                                        STIPULATION AND ORDER
14    HAITHAM EID HABASH,
15                      Defendants.
16

17          Plaintiff United States of America, by and through its counsel of record, and Defendant

18   Habash, by and through his counsel of record, hereby stipulate as follows:

19          1.     The defendant has entered into a plea agreement with the government. This matter

20                 is set for a change of plea on January 22, 2019.

21          2.     The government’s response to defendant’s suppression motion relating to the

22                 Crenshaw Boulevard search, Doc. 333, is currently due on January 14, 2019, and

23                 the defendant’s reply is due on January 21.

24          3.     The parties agree to stay until January 22 proceedings with respect to all of the

25                 defendant’s pretrial motions, including disposition. (Docs. 331-37).

26          4.     The parties also agree, as to this defendant only, to vacate the January 7, 2019,

27                 hearing date, which was previously set in connection with the defendant’s motion

28                 to disclose grand jury transcript (Doc. 331).
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 1         5.     Time has previously been excluded to and through January 7, 2019.

 2         6.     The parties further agree and stipulate, and request that the Court find the

 3                following:

 4                a.      The delay from the filing of the pretrial motions through the conclusion of

 5                the hearing or disposition of such motions is a basis for the exclusion of time for

 6                Speedy Trial purposes.

 7                b.      The delay from January 7, 2019, to January 22, 2019, is also a basis for the

 8                exclusion of time for Speedy Trial purposes, because the Court or the defendant is

 9                unavailable for a change of plea prior to January 22, 2019.

10                c.      Based on the above-stated findings, the ends of justice served by

11                continuing the case as requested outweigh the interest of the public and the

12                defendant in a trial within the original date prescribed by the Speedy Trial Act.

13                d.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

14                3161, et seq., within which trial must commence, the time period of January 7,

15                2019, to January 22, 2019, inclusive, is deemed excludable pursuant to 18 U.S.C.

16                §§ 3161(h)(1)(D), (h)(1)(G), and (h)(7)(A), because it results from a continuance

17                granted by the Court at the parties’ request on the basis of the Court’s finding that

18                the ends of justice served by taking such action outweigh the best interest of the

19                public and the defendants in a speedy trial.

20         7.     Nothing in this stipulation and order shall preclude a finding that other provisions
21         of the Speedy Trial Act dictate that additional time periods are excludable from the period

22   IT IS SO STIPULATED.

23   DATED:       December 12, 2018. Respectfully submitted,

24                                       McGREGOR W. SCOTT
25                                       United States Attorney

26                                       /s/ Karen A. Escobar___________________
                                         KAREN A. ESCOBAR
27                                       Assistant United States Attorney
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                                                     2
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 1   DATED:      December 12, 2018.
 2                                    /s/ Shaun Khojayan
 3                                    SHAUN KHOJAYAN
                                      Counsel for Haitham Eid Habash
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 5   IT IS SO ORDERED.
 6
        Dated:   December 13, 2018
 7                                               UNITED STATES DISTRICT JUDGE

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